 

Case 5:05-cr-00083-C Document 98 Filed 04/06/16 Page 1 of 1 Page|D 352
TXND FO E(AO 247)2014 Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2) Page 1 of 2 (Page 2 Not for Public Disclosure)

  

UNITED STATES DISTRICT CoURT
forma §§ §§§ -§ §§ §§ §§

Northern District of Texas - Lubbock Division

United States of America

 

 

 

 

v. )
) Case No: 5:05-CR-083-02-C
JUAN ANTHONY REYES ) USM NO: 31910-177
Date of Original Judgment: 4/7/2006 )
Date of Previous Amended Judgment )
or Last Order Reducing Sentence; )

 

Defendant’s Attorney
Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(¢)(2)

Upon motion of X the defendant E_| the Director of the Bureau of Prisons 13 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term cf imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §lBl.lO
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable, '

IT IS ORDERED that the motion is:

X DENIED. III GRANTED and the defendant’s previously imposed Sentence of imprisonment (as reflected in
the last judgment issued) of months is reduced to

 

(Cornplete Parts 1 and II ofPage 2 when motion is granteaQ

ADDITIONAL COMMENTS: T he defendant received a sentence of 235 months. This sentence was fair in lightof
the factors in Title 18, United States Code, Section 3553(a), including his criminal history, offense conduct or

relevant conduct, and the post-sentencing conduct Therefore, the defendant shall not be granted a further reduction
in his sentence.

    
 
    

Except as otherwise provided, all provisions of the judgment dated 4/7/200
IT IS SO ORDERED.

l shall rem ` in effect.

order Date: Ang 6, 2016 /)/W%

\\;j `%:signature //
Effective Date: A ril 6, 2016 SAM R. CUM , Senior U.S. ist ict Judge

(November ], 2015 or Printea' name and titl

 

